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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


  ASHTON ORR, et. al.,
                                                  Case No. 1:25-cv-10313-JEK
                               Plaintiffs,
      v.
  DONALD J. TRUMP, et. al.,
                               Defendants.


    PLAINTIFFS’ MOTION FOR LEAVE TO FILE 2-PAGE SUPPLEMENTAL
 MEMORANDUM IN FURTHER SUPPORT OF MOTION TO STAY AGENCY ACTION
                AND FOR A PRELIMINARY INJUNCTION

       Plaintiffs respectfully request that they be permitted to file a short memorandum of law in

further support of their Motion to Stay Agency Action and for a Preliminary Injunction to address

the narrow issue of the Court’s authority under 5 U.S.C. § 705. See Emseal Joint Sys., Ltd. v. MM

Sys. Corp., 2015 WL 13694480, at *1 (D. Mass. June 18, 2015) (permitting a party to file a two-

page supplemental briefing in further support of its motion for a stay). A copy of the proposed

memorandum is attached to this filing as Exhibit A.




                                                Respectfully submitted,

March 28, 2025                                 /s/ Isaac D. Chaput
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             CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

        I, Isaac D. Chaput, hereby certify that, in accordance with Local Rule 7.1(a)(2), counsel

for Plaintiffs communicated via email on March 27 and 28, 2025, with counsel for Defendants,

Benjamin Takemoto, who requested that Plaintiffs include the following statement: “Defendants

defer to the Court on whether supplemental briefing is warranted. If the Court grants Plaintiffs

leave to file a supplemental brief, Defendants would like an opportunity to respond within one

week.” Plaintiffs believe that, given the limited nature of this supplemental brief and the ongoing

irreparable harm inflicted by Defendants’ policies, Defendants should be required to submit any

further briefing by Wednesday, April 2, 2025, and that any responsive brief should be limited to

two pages.




                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 28, 2025, a true copy of the foregoing will be electronically

filed with the Clerk of Court using the CM/ECF system, which will then send a notification of

such filing (NEF).



                                                             /s/ Isaac D. Chaput
                                                             Isaac D. Chaput




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